          Case 4:22-cr-06004-MKD                ECF No. 61                filed 06/22/22              PageID.158 Page 1 of 2
✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT                                                                FILED IN THE
                                                                                                                       U.S. DISTRICT COURT
                                                                                                                 EASTERN DISTRICT OF WASHINGTON

                                                                        for
                                              Eastern District of Washington
                                                                                                                  Jun 22, 2022
                                                                                                                      SEAN F. MCAVOY, CLERK




U.S.A. vs.                    Doyle, Daniel James                                        Docket No.            0980 4:22CR06004-MKD-1


                                  Petition for Action on Conditions of Pretrial Release

        COMES NOW Daniel M. Manning, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant Daniel James Doyle, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge James P. Hutton sitting in the court at Yakima, Washington, on the 9th day of March 2022, under the
following conditions:

Standard Condition #9: Defendant shall refrain from use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal law.
Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana under
state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


On March 10, 2022, the conditions of pretrial supervision were reviewed with and signed by Daniel James Doyle,
acknowledging an understanding of his conditions.

Violation #4: Daniel James Doyle is considered to be in violation of his conditions of pretrial release by using a controlled
substance, methamphetamine, on or about June 20, 2022.

Mr. Doyle reported to the probation office in Richland on June 21, 2022. During this meeting, Mr. Doyle submitted a drug
test which tested positive for methamphetamine. After submitting to the drug test, Mr. Doyle admitted to last using
methamphetamine on or about June 20, 2022, and signed a drug use admission form.

     PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                          PREVIOUSLY REPORTED TO THE COURT

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:         June 22, 2022
                                                                               by          s/Daniel M. Manning
                                                                                           Daniel M. Manning
                                                                                           U.S. Pretrial Services Officer
          Case 4:22-cr-06004-MKD          ECF No. 61      filed 06/22/22    PageID.159 Page 2 of 2
  PS-8
  Re: Doyle,, Daniel James
  June 22, 2022
  Page 2

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[X ]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the
case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                     Signature of Judicial Officer
                                                                     June 22, 2002
                                                                     Date
